Case 1:25-cv-00465-AHA   Document 1-10   Filed 02/18/25   Page 1 of 3




                         Exhibit A
  Case 1:25-cv-00465-AHA           Document 1-10         Filed 02/18/25      Page 2 of 3




                                                    United States Department of State
                                         Bureau of Population, Refugees, and Migration
                                                               Washington, D.C. 20520


                                                                           January 24, 2025

United States Conference of Catholic Bishops
3211 4th St NE
Washington, DC
20017-1104

REF:   SPRMCO24CA0336
       SPRMCO24CA0342
       SPRMCO24CA0032

Consistent with the President’s Executive Order on Reevaluating and Realigning United
States Foreign Aid, the U.S. Department of State, Bureau of Population, Refugees, and
Migration hereby notifies the recipient that, consistent with the terms of the award(s),
the referenced award(s) are immediately suspended as of January 24, 2025. Award(s)
may no longer effectuate agency priorities and are suspended pending a Department-
wide review of foreign assistance programs. Decisions whether to continue, modify, or
terminate award(s) will be made following this review.

Effective immediately upon receipt of this Notice of Suspension the Recipient must stop
all work under the award(s) and not incur any new costs after the effective date cited
above. The Recipient must cancel as many outstanding obligations as possible.

To comply with the Executive Orders on Ending Radical and Wasteful Government DEI
Programs and Preferencing and Initial Recissions of Harmful Executive Orders and
Actions, Recipients are hereby notified that no U.S. Government funds may be used to
promote “diversity, equity, and inclusion” (DEI) at any level or in any activity, regardless
of partner or program location. Any use of PRM funding to promote DEI must cease
immediately, including activities that were previously authorized by PRM. Your
certification that all such activities funded by U.S. Government funds have ceased is
required immediately by emailing the grants officer for your award and copy PRM-
Comp-Mgt@State.gov. We understand that you may be receiving multiple emails from
various grantors requesting this certification. Recipients must reply to this letter by
email.

Recipients may submit payment requests for legitimate expenses incurred prior to the
date of this Notice of Suspension or legitimate expenses associated with this Notice of
Suspension.




                                         UNCLASSIFIED
  Case 1:25-cv-00465-AHA         Document 1-10       Filed 02/18/25     Page 3 of 3

                                           2


Recipients are reminded that any changes to award terms and conditions, as well as
costs must be approved by a grants officer. The program officer does not have authority
to approve award costs or program changes.

If you have any other questions regarding the suspension, please contact me at
licinarm@state.gov.

                                    Sincerely,


                                    Rachel Licina
                                    Grants Officer




                                      UNCLASSIFIED
